




Dismissed and Memorandum Opinion filed May 14, 2009








Dismissed
and Memorandum Opinion filed May 14, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00251-CR

____________

&nbsp;

GREGG OSCAR CAMPOS,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
174th District Court

Harris County, Texas

Trial Court Cause No. 1143361

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to the offense of assault on a family member.&nbsp; In
accordance with the terms of a plea bargain agreement with the State, the trial
court sentenced appellant on March 5, 2009, to confinement for two years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant
filed a pro se notice of appeal.&nbsp; We dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Panel consists of Justices Anderson, Guzman, and
Boyce.

Do Not Publish C Tex. R. App. P.
47.2(b)





